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                          Exhibit 1 – Verdict List


                         Court of Appeals
      Plaintiff                                 NDFL Docket Case No.
                           Docket No.
     Estes, Luke             21-13135                7:20-cv-137
    Keefer, Lewis            21-13131                7:20-cv-104
   Hacker, Stephen           21-13133                7:20-cv-131
    Baker, Lloyd        21-12393; 21-12517           7:20-cv-039
   Adkins, Brandon           22-12812                7:20-cv-012

 Camarillo, Guillermo        23-10262                7:20-cv-098
   Finley, Theodore                                  7:20-cv-0170
  Wayman, William                                    7:20-cv-0149
    Sloan, Ronald                                    7:20-cv-001
   Vilsmeyer, Luke           22-13895                7:20-cv-0113
  Wilkerson, Steven          22-12719                7:20-cv-035
Vaughn, Jonathon Wade                                7:20-cv-134
     Beal, James                                     7:20-cv-006
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                                            EXHIBIT 2

                                  RELEASE OF ALL CLAIMS

I the undersigned Releasor, [VERDICT CLAIMANT NAME] in consideration for $ [INSERT
VERDICT SETTLMENT AMOUNT] (“the Settlement Amount”) hereby give and make the
following Release.

This Release is also entered into by any Derivative Claimant who executes a signature page hereto,
in which case the agreement of such Derivative Claimant set forth on its signature page is
incorporated in, and is part of, this Release.

Definitions: As used in this Release, and in addition to the definitions set forth in the Preamble
above, capitalized terms shall have the following definitions and meanings or such definitions and
meanings as are accorded to them elsewhere in this Release. Terms used in the singular shall be
deemed to include the plural and vice versa.

       1.      “Claims” means any and all past, present, and future rights, remedies, actions,
               claims, liabilities, losses, demands, causes of action, suits at law or in equity,
               verdicts, suits of judgments and/or Liens, past, present, and future, and any
               fraudulent transfer, conveyance, and related types of claims, of any kind
               whatsoever regardless of the legal or equitable theory, whether known or unknown,
               whether sounding in contract or tort, whether asserted or unasserted in any
               litigation, or the jurisdiction where asserted. Claims also include, but are not
               limited to, all claims for damages or remedies of whatever kind or character, known
               or unknown, that are now recognized or that may be created or recognized in the
               future by statute, regulation, judicial decision, or in any other manner, including
               but not limited to (i) personal injury and/or bodily injury, latent injury, future injury,
               progression of existing injury, damage, disease, death, fear of death, disease or
               injury, mental or physical pain or suffering, emotional or mental harm, anguish, or
               loss of enjoyment of life or loss of life’s pleasures; (ii) compensatory damages,
               general damages, special damages, punitive, exemplary, and statutory and other
               multiple damages or penalties of any kind; (iii) loss of wages, income, earnings or
               earning capacity; (iv) medical expenses, doctor, hospital, nursing, physical therapy
               or rehabilitation or other therapy and drug bills; (v) loss of support, services,
               consortium, companionship, society or affection, or damage to familial relations,
               by spouses, former spouses, parents, children, other relatives or “significant others”
               of any Derivative Claimant; (vi) consumer fraud, refunds, unfair business practices,
               deceptive trade practices, Unfair and Deceptive Acts and Practices, disgorgement
               of profit, and other similar claims whether arising under statute, regulation, or
               judicial decision; (vii) wrongful death and survivorship; (viii) medical screening
               and monitoring; (viii) injunctive and declaratory relief; (ix) economic, property, or
               business losses; (x) prejudgment or post-judgment interest; (xi) attorneys’ fees and
               costs; and (xii) any class action or putative class action.

       2.      Combat Arms Earplugs (“CAE”): means any dual-ended non-linear earplugs
               sold or manufactured by or for or with either Aearo or 3M under any trade name,

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         including but not limited to Combat Arms Earplugs (Version 2), ARC Plug
         earplugs, and AO Safety Indoor Outdoor Range Earplugs.

   3.    “Derivative Claimant” means any and all persons who have or assert the right to
         sue 3M or any other Released Party related to the Released Claims by reason of
         their personal relationship with me, and/or otherwise by, through or under, or
         otherwise in relation to, me, whether their right to sue is independent, derivative,
         or otherwise. Derivative Claimants include, but are not limited to, my parents,
         guardians, heirs, beneficiaries, surviving spouse (including, but not limited to, a
         putative or common law spouse), surviving domestic partner and/or next of kin, if
         any, solely in respect to Derivative Claims.

   4.    “Derivative Claims” means Claims against 3M or any other Released Party arising
         from or in connection with a Derivative Claimant’s personal relationship with me
         as it relates to the Released Claims, and/or otherwise by, through or under, or
         otherwise in relation to, me.

   5.    “Third Party Provider/Payor” means any provider or payor (public or private) of
         (i) health, hospital, medical, physician, healthcare and/or pharmaceutical services,
         products or expenses and/or (ii) any other form of compensation, including, but not
         limited to, federal and state governmental authorities (or other persons) providing
         Medicaid and/or Medicaid services or benefits.

   6.    “Law” means a law, statute, ordinance, rule, regulation, case or other legal
         provision or authority.

   7.    “Liabilities” means any and all damages, expenses, debts, liabilities, obligations,
         covenants, promises, contracts, agreements and/or obligations, of any kind
         whatsoever, past, present, and future.

   8.    “Lien” means any lien, pledge, charge, security interest, assignment, encumbrance,
         subrogation right, third-party interest, or other adverse claim of any nature
         whatsoever against my Settlement Amount or my Released Claims and Liabilities.

   9.    “Released Claims and Liabilities” means, collectively, (i) CAE Claims that any
         Releasing Party may have ever had, may now have or at any time hereafter may
         have against any Released Party and (ii) Liabilities that any Released Party may
         have ever had, may now have or at any time hereafter may have to any Releasing
         Party, in the case of clause (i) and clause (ii), to any extent, or in any way, arising
         out of, relating to, resulting from and/or connected with CAE or any non-linear
         earplugs sold or manufactured by or for or with either Aearo or 3M under any trade
         name, including but not limited to Combat Arms Earplugs (Version 2), ARC Plug
         earplugs, and AO Safety Indoor Outdoor Range Earplugs, including but not limited
         to Combat Arms version 1, version 2, version 3, version 4, and version 4.1.

   10.   “Released Parties” means: (i) 3M Company, 3M Occupational Safety LLC, Aearo
         Holding LLC, Aearo Intermediate LLC, Aearo LLC, Aearo Technologies LLC
         (collectively “3M”); (ii) 3M’s past, present, and/or future affiliates, assigns,
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               predecessors, successors, related companies, subsidiary companies, directors,
               officers, employees, shareholders, advisors, advertisers, attorneys, insurers, and
               agents; (iii) past, present, and/or future manufacturers, suppliers of materials,
               suppliers of components, and all other persons involved in development, design,
               manufacture, formulation, testing, distribution, marketing, labeling, regulatory
               submissions, advertising and/or sale of any CAE or component thereof; (iv) past,
               present, and/or future distributors, licensees, retailers, sellers, and resellers of CAE;
               (v) all past, present and/or future persons and entities that are indemnified by 3M
               in connection with any CAE by contract or common law rights of indemnification
               or contribution; and (vi) the respective past, present, and/or future parents,
               subsidiaries, divisions, affiliates, joint venturers, predecessors, successors, assigns,
               transferees, insurers, shareholders (or the equivalent thereto), directors (or the
               equivalent thereto), officers (or the equivalent thereto), managers, principals,
               employees, consultants, advisors, attorneys, agents, servants, representatives, heirs,
               trustees, executors, estate administrators, and personal representatives (or the
               equivalent thereto) of the parties referred to in this paragraph.

       11.     “Releasing Parties” means (i) myself and (ii) any Derivative Claimant.

       12.     “Settlement Agreement” means the Combat Arms Settlement Agreement dated as
               of August 29, 2023

Releases: On my own behalf and on behalf of each other Releasing Party, I hereby knowingly and
voluntarily release, relinquish, and forever discharge the Released Parties from the Released
Claims and Liabilities.

By submitting a Release, I understand and agree that the Settlement Amount is for compensatory
damages only and that no portion of the Settlement Amount paid hereunder is, or shall be deemed
to be, attributable to punitive damages, or pre- or post-judgment interest.

I acknowledge that I and/or any other Releasing Party may in the future learn of additional and/or
different facts as they relate to the Released Claims, or the Released Parties’ activities as they
relate to the Released Claims. I understand and acknowledge the significance and consequences
of releasing all of the Released Claims and Liabilities and hereby (on my own behalf and on behalf
of each other Releasing Party in respect of Derivative Claims) assume full risk and responsibility
for any and all such additional and/or different facts and any and all Released Claims and
Liabilities that I (and/or any other Releasing Party in respect of Derivative Claims) may hereinafter
incur or discover. To the extent that any law may at any time purport to preserve my and/or any
other Releasing Party’s right to hereafter assert any such unknown and/or unanticipated Released
Claim and/or Liabilities, I hereby (on my own behalf and on behalf of each other Releasing Party
in respect of Derivative Claims) specifically and expressly waive (to the fullest extent permitted
by applicable Law) each Releasing Party’s rights under such Law. I further acknowledge having
had an opportunity to obtain advice of counsel of my choosing regarding this waiver, and having
had the opportunity to discuss it with such counsel to my satisfaction.




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On my own behalf and on behalf of each other Releasing Party, I acknowledge and agree that the
releases set forth in this Release are irrevocable and unconditional, inure to the benefit of and may
be enforced by each Released Party, and are intended to be as broad as can possibly be created.

WITHOUT LIMITATION OF THE FOREGOING, THIS RELEASE IS SPECIFICALLY
INTENDED TO OPERATE AND BE APPLICABLE EVEN IF IT IS ALLEGED,
CHARGED, OR PROVED THAT SOME OR ALL OF THE RELEASED CLAIMS AND
LIABILITIES ARE CAUSED IN WHOLE OR IN PART BY THE NEGLIGENCE,
NEGLIGENCE PER SE, GROSS NEGLIGENCE, BREACH OF WARRANTY, FAILURE
TO WARN, VIOLATION OF LAW, DEFECTIVE PRODUCT, MALICE, AND/OR
CONDUCT OF ANY TYPE BY 3M, ANY OF THE OTHER RELEASED PARTIES, ANY
RELEASING PARTY, AND/OR ANY OTHER PERSON.         THIS RELEASE IS
SPECIFICALLY INTENDED TO AND DOES INCLUDE, BUT IS NOT LIMITED TO, A
RELEASE OF, AND COVENANT NOT TO SUE FOR, ANY LATENT, FUTURE, OR
WRONGFUL DEATH CLAIM THAT MAY BE BROUGHT AT ANY TIME OR ON
BEHALF OF ANY OF THE RELEASING PARTIES IN CONNECTION WITH ANY OF
THE FACTS, EVENTS, AND/OR INCIDENTS THAT GAVE RISE TO ANY OF THE
RELEASED CLAIMS AND LIABILITIES.

Waiver of Statutory Rights.

I, on my own behalf and on behalf of each other Releasing Party, expressly waive and
relinquish, to the fullest extent permitted by law, the provisions, rights, and benefits of
California Civil Code Section 1542, or any other similar provision under federal or state law,
which provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
       CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
       EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE
       AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
       AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR OR RELEASED
       PARTY.

To the extent the provisions apply, the Releasing Parties likewise expressly, knowingly, and
voluntarily waive the provisions of Section 28-1-1602 of the Montana Code Annotated, which
provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
       CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN THE CREDITOR’S
       FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH, IF KNOWN
       BY THE CREDITOR, MUST HAVE MATERIALLY AFFECTED THE
       CREDITOR’S SETTLEMENT WITH THE DEBTOR.

To the extent the provisions apply, I, on my own behalf and on behalf of each other Releasing
Party, likewise expressly, knowingly, and voluntarily waive the provisions of Section 9-13-02
of the North Dakota Century Code, which provides:


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       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
       CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN THE CREDITOR’S
       FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN
       BY THE CREDITOR, MUST HAVE MATERIALLY AFFECTED THE
       CREDITOR’S SETTLEMENT WITH THE DEBTOR.

To the extent the provisions apply, I, on my own behalf and on behalf of each other Releasing
Party, likewise expressly, knowingly, and voluntarily waive the provisions of Section 20-7-11
of the South Dakota Codified Laws, which provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE
       CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS FAVOR AT
       THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM
       MUST HAVE MATERIALLY AFFECTED HIS SETTLEMENT WITH THE
       DEBTOR.

To the extent the laws apply, I, on my own behalf and on behalf of each other Releasing
Party, expressly waive and relinquish all rights and benefits that they may have under, or
that may be conferred upon them by, Section 1542 of the California Civil Code, Section 28-
1-1602 of the Montana Code Annotated, Section 9-13-02 of the North Dakota Century Code,
Section 20-7-11 of the South Dakota Codified Laws, and all similar laws of other States, to
the fullest extent that they may lawfully waive such rights or benefits pertaining to the
Released Claims and Liabilities.

In connection with such waiver and relinquishment, I, on my own behalf and on behalf of
each other Releasing Party, acknowledge that I am aware that I or my attorneys may
hereafter discover Claims or facts in addition to or different from those that they now know
or believe to exist with respect to the Released Claims and Liabilities, but that it is my
intention to accept and assume that risk and fully, finally, and forever release, waive,
compromise, settle, and discharge all the Released Claims and Liabilities against Released
Parties. The Release thus shall remain in effect notwithstanding the discovery or existence
of any additional or different Claims or facts.

Attorneys’ Fees; Division of The Settlement Amount: I understand that the Released Parties are
not responsible for any attorneys’ fees or costs I have incurred or may at any time incur, including,
but not limited to, in connection with entering into this Release and any other documents. I
understand that, with respect to any Settlement Amount, any dispute regarding the division of
such Settlement Amount between me, any Derivative Claimant executing this Release, and our
respective counsel (if any) shall in no way affect the validity of this Release.

Pursuit of Certain Claims: I agree that other than to enforce this Release, I will never (i) take
any legal or other action to initiate, pursue, maintain, or otherwise attempt to execute upon, collect,
or otherwise enforce, any of the Released Claims and Liabilities of or against any Released Party;
(ii) institute or participate in any new legal action against any Released Party to any extent, or in
any way, arising out of, relating to, resulting from and/or connected with the Released Claims; (iii)
attempt to execute or collect on, or otherwise enforce, any judgment that may be entered against
any Released Party in any legal action described in clause (ii) or my pending legal action against

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3M; or (iv) take any legal or other action against any Released Party concerning the Settlement
Amount.

Liens and Other Third-Party Payor Claims: I agree that prior to the Settlement Amount being
paid to me, I shall identify to the Settlement Administrator all governmental authorities that are
Third Party Providers/Payors known to me to hold or assert any Lien pursuant to any applicable
statute with respect to the Settlement Amount (and/or the right to receive such Settlement Amount)
payable to me, through procedures and protocols to be established by the Combat Arms Settlement
Administrator. I further understand that the Combat Arms Settlement Administrator will also
check with the potentially applicable government entities including Medicare, Medicaid from the
state(s) where I have resided, or if I am a Veteran, the United States Department of Veterans
Affairs, or if medical bills were paid by any federal policy such as Tricare, such agency, to ensure
there are no pertinent governmental liens and will not distribute funds to me until they receive
assurance that there are no such governmental liens, or if they do exist, that they are appropriately
compromised and paid.

I understand and acknowledge that satisfaction and discharge of any and all Liens with respect to
the Settlement Amount (and/or the right to receive the Settlement Amount) is the sole
responsibility of me and any Derivative Claimant executing this Release and must, in relation to
all governmental authorities that are Third Party Providers/Payors who hold or assert any Liens
pursuant to any applicable statute, be established to the satisfaction of the Combat Arms Settlement
Administrator before the Settlement Amount can be disbursed to me.

Before the Settlement Amount is paid made to me, I (and any Derivative Claimant) shall represent
and warrant that any and all Liens have been, or will be, satisfied and discharged. Furthermore,
upon request to the Combat Arms Settlement Administrator, 3M shall be entitled to proof of
satisfaction and discharge of any or all such Liens pursuant to any applicable statute in relation to
all governmental authorities that are Third Party Providers/Payors. Documentation of a holdback
amount determined by the Combat Arms Settlement Administrator shall count as sufficient proof
for the release of funds to the relevant Claimant.

In addition to and without limitation of the foregoing, I hereby agree, jointly and severally with
any Derivative Claimant executing this Release, to indemnify and hold harmless the Released
Parties (as defined above) from and against (i) any and all Claims made or asserted at any time
against any Released Party by (a) any Third Party Provider/Payor in relation to me or any
Derivative Claim, (b) any person at any time holding or asserting any Lien in relation to me or any
Derivative Claim, and/or (c) any other person at any time claiming by, through or under, me or
any Derivative Claimant executing this Release, with respect to any funding payment by or for the
account of 3M under the Settlement Agreement or Settlement Program (and/or the right to receive
the Settlement Amount), and (ii) any and all damages, losses, costs, expenses (including, but not
limited to, legal fees and expenses) and/or Liabilities incurred or suffered by, or imposed on, any
Released Party in connection with, arising out of or resulting from any Claim described in clause
(i) of this sentence (including, but not limited to, any amount paid or to be paid in satisfaction of
any such Claim).




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Indemnification for Released Claims and Liabilities: I hereby agree, jointly and severally with
any Derivative Claimant executing this Release, to indemnify and hold harmless each Released
Party from and against (i) any and all Claims that may be asserted, made or maintained at any time
against any Released Party by, on behalf of or for the benefit of, or otherwise through or under,
any Releasing Party with respect to any of the Released Claims and Liabilities, and (ii) any and all
damages, losses, costs, expenses (including, but not limited to, legal fees and expenses), and/or
Liabilities incurred or suffered by, or imposed on, any Released Party in connection with, arising
out of or resulting from any Claim described in clause (i) of this sentence (including, but not limited
to, any amount paid or to be paid in satisfaction of any such Claim) and/or, without limitation of
the foregoing, any breach by me (or any Derivative Claimant executing this Release) of any of the
terms of this Release.

I (and any Derivative Claimant executing this Release) accept that I will be responsible for any tax
consequences arising from, related to, or in any way connected with the relief afforded to me (and
the Derivative Claimant) under the Settlement Agreement.

Pursuit of Certain Claims: Other than to participate in the Settlement , I agree that from and after
the date on which this Release is executed until the earlier of either (i) the date on which my
Dismissal With Prejudice Stipulation is delivered to Defendants or (ii) I exit the settlement
program and this Release is returned to me, I shall be prohibited from, and refrain from, taking
any action (including any legal action) to initiate, pursue, maintain, or otherwise attempt to execute
upon, collect or otherwise enforce, any actual or alleged Released Claims and Liabilities of or
against Defendants or any other Released Party. I will also cooperate in all reasonable respects
with Defendants to seek to stay, and to continue in effect any then outstanding stay with respect
to, any pending legal proceedings instituted by me and/or Derivative Claimants against any
Released Party in connection with Released Claims, and I will refrain from instituting any new
legal action against any Released Party in connection with any Released Claim. I will also be
prohibited from and refrain from, attempting to execute or collect on, or otherwise enforce, any
judgment that may be entered against any Released Party in connection with any Released Claim.

I also agree that if I exit the Settlement under circumstances such that my Release remains in effect,
in furtherance and not in limitation of such Release, any judgment in connection with any Released
Claim automatically shall be deemed to have been Released by me and all such Derivative
Claimants. I agree that I and any Derivative Claimants shall execute such instruments, and take
such other actions, as Defendants reasonably may request in order to further evidence or implement
the same.

Confidentiality: I agree to maintain in confidence, and shall not disclose to any person, the amount
of the Settlement Amount Payment, except as may be required by applicable Law and to effectuate
the settlement; provided, that I understand that I may disclose such information to my immediate
family members and to my counsel, accountants and/or financial advisors, if any (each of whom I
shall, upon such disclosure, instruct to maintain and honor the confidentiality of such information).
I agree that if I breach this confidentiality provision, money damages would not be a sufficient
remedy and, accordingly, without limitation of any other remedies that may be available at law or
in equity, 3M shall be entitled to specific performance and injunctive or other equitable relief as
remedies for such breach.


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ACKNOWLEDGEMENT OF COMPREHENSION: I AM ENTERING INTO THIS
RELEASE FREELY AND VOLUNTARILY, WITHOUT BEING INDUCED,
PRESSURED, OR INFLUENCED BY, AND WITHOUT RELYING ON ANY
REPRESENTATION OR OTHER STATEMENT MADE BY OR ON BEHALF OF, 3M OR
ANY OTHER PERSON. I UNDERSTAND AND ACKNOWLEDGE THE NATURE,
VALUE, AND SUFFICIENCY OF THE CONSIDERATION DESCRIBED IN THIS
RELEASE. I ACKNOWLEDGE THAT I HAVE READ THIS RELEASE AND THE
DISCLOSURE DOCUMENTS PROVIDED TO ME REGARDING THE SETTLEMENT
AGREEMENT AND THE ALLOCATION OF THE COMBAT ARMS SETTLEMENT
FUND, AND I HAVE HAD AN OPPORTUNITY TO OBTAIN ADVICE FROM, AND ASK
QUESTIONS OF, COUNSEL OF MY CHOOSING REGARDING THE TERMS AND
LEGAL EFFECT OF THESE DOCUMENTS AND MY DECISION TO PARTICIPATE IN
THE SETTLEMENT. I FURTHER ACKNOWLEDGE THAT PAYMENT OF THE
SETTLEMENT AMOUNT SHALL BE THE ONLY PAYMENT(S) TO ME WITH
RESPECT TO ANY RELEASED PARTY. I FURTHER ACKNOWLEDGE THAT THIS
RELEASE IS THE PRODUCT OF A MEDIATED SETTLEMENT, THAT THE
MEDIATORS HAD NO DUTY TO PROTECT MY INTERESTS OR PROVIDE ME WITH
INFORMATION ABOUT MY LEGAL RIGHTS, AND THAT I SHOULD CONSULT
WITH COUNSEL IF I AM UNCERTAIN OF MY RIGHTS.

Waiver of Certain Provisions Regarding Timing of Any Payments. If I have any civil action
pending in any jurisdiction that has enacted, promulgated, or otherwise adopted any Law
containing provisions that establish specific time periods within which settlement funds, if any,
must be paid to me in connection with the settlement of such civil action and/or impose sanctions,
penalties or other similar obligations against the paying party if the settlement funds are not paid
within such time periods and/or invalidate or otherwise affect the terms of the settlement of such
civil action, I hereby (i) specifically and expressly waive (to the fullest extent permitted by
applicable Law) my rights under any such provisions and (ii) agree that payment of the Settlement
Amount shall be made solely in accordance with the terms and conditions of the Combat Arms
Settlement.

No Admission of Fault: I understand and agree that 3M has entered into this Release and the
Settlement Agreement solely by way of compromise and settlement. These documents are not,
and shall not be construed at any time to be, an admission of liability, responsibility or fault of or
by 3M or any other Released Party.

Representations and Warranties: I hereby represent and warrant that I have full power, authority
and capacity to enter into this Release, which is enforceable in accordance with its terms. Except
as set forth in the section “Attorneys’ Fees; Division of Settlement Amount” above, I have the sole
right to receive any and the Settlement Amount with respect to my claim under the Combat Arms
Settlement, other than holders of rights in respect of any medical liens or any advanced funding
loans on my settlement proceeds. Neither I nor any other Releasing Party has sold, assigned,
transferred or otherwise disposed of, or pledged or otherwise encumbered, any of the Released
Claims and Liabilities in whole or in part, other than any medical liens or any advanced funding
loans on my settlement proceeds.



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GOVERNING LAW: THIS RELEASE SHALL BE GOVERNED BY AND CONSTRUED
IN ACCORDANCE WITH THE SUBSTANTIVE LAW OF NEW YORK, WITHOUT
REGARD TO ANY CHOICE-OF-LAW RULES THAT WOULD REQUIRE THE
APPLICATION OF THE LAW OF ANOTHER JURISDICTION.

Severability: I agree that if any provision of this Release is adjudicated to be invalid, illegal or
unenforceable in any jurisdiction, the relevant provision shall be deemed modified to the extent
necessary to make it enforceable in such jurisdiction and, if it cannot be so modified, this Release
shall be deemed amended to delete herefrom the invalid or unenforceable provision, and this
Release shall be in full force and effect as so modified. Any such modification or amendment in
any event shall apply only with respect to the operation of this Release in the particular jurisdiction
in which such adjudication was made and shall not affect such provision in any other jurisdiction.
To the fullest extent permitted by applicable Law, I hereby (on my own behalf and on behalf of
each other Releasing Party) specifically and expressly waive any provision of Law that renders
any provision of this Release invalid, illegal or unenforceable in any respect.

Legal Representatives: If I am signing this Release as a legal representative of a CAE user, then
(i) all references in this Release to my use of, or injury from, CAE shall also mean the use of, or
injury from, CAE, all references in this Release to any person claiming by, through or under, or in
relation to, me shall also mean any person claiming by, through or under, or in relation to, such
CAE user, and all references to me in the definition of Derivative Claimant shall also mean such
CAE user, (ii) if such CAE user is not deceased, he or she shall also be a Releasing Party, (iii) if
such CAE user is deceased, I am executing this Release both individually and on behalf of the
estate of such CAE user, and (iv) prior to the time the Settlement Amount payment is made to me
in my capacity as legal representative, I will obtain judicial approval of this Release, with the
assistance of my legal counsel, to the extent required under applicable Law.

Electronic Signatures: This Release, and any exhibits thereto, to the extent signed and delivered
electronically or by facsimile, shall be treated in all manner and respects as an original agreement,
and shall be considered to have the same binding legal effect as if it were the original signed
version thereof, delivered in person.

                      [The remainder of this page is intentionally left blank.]




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        IN WITNESS WHEREOF, I have executed this Release on the date below, to be effective
as of the date set out in the first paragraph of this Release above:


                                             RELEASOR:



                                             By     __________________________
                                             Name: __________________________
                                             Dated: __________________________




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        SIGNATURE PAGE AND AGREEMENT BY DERIVATIVE CLAIMANT

        I am a person having or asserting the right to sue 3M by reason of my relationship with
Releasor (or, if Releasor is a legal representative of a CAE user, such CAE user). I hereby enter
into the Release to which this signature page is attached and agree to be bound by all of its terms
(and, without limitation, hereby give and make all releases, waivers, acknowledgements,
agreements, representations and warranties therein) on the same basis as Releasor set forth therein
(including, but not limited to, all joint and several indemnification obligations set forth therein).
This agreement was executed on the date below, and is effective as of the date set out in the first
paragraph of this Release above.

                                                  DERIVATIVE CLAIMANT:



                                                  By     _____________________________
                                                  Name: _____________________________
                                                  Dated: _____________________________




                                                 11
